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         1                                     .                                           or
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         6                             IJNITED STATES DISTRICT COURT
                                             DISTRICT OF NEVADA
         7
             UNITED STATES OF AM ERICA,                   )
         8                                                )
                                  Plaintiff,              )
         9                                                )
I                   v.                                    )          2:lI-CR-OS7-LDG-CW H
        10                                                )
!       11 a
           Fk
            Maç
              NRC
              t ed
                 IS,C
                    ,OMUNOZ,
                     ,
                                                          )
                                                          )
                                                          )
        12                        Defendant.              )
!       13                         PRELIM INARY ORDER OF FORFEITURE

        14        ThisCourttindsthaton M arch 12,2012,defendantFRANCISCO M UNOZ, akaEtRed'',pled

        15 guiltytoaCriminalInformationcharginghim inCountOnewithConspiracytoDistzibuteM arijuana
        16 in violation ofTitle21,United StatesCode, Sectionss41(a)(1)and 846,and in CountTwowit
                                                                                               .
                                                                                               h
        17 PossessionofaFirenrrnbyaProhibitedPerson,inviolation ofTitlel8, U nited SutesCode,Section

        18 922(g)(l).
        19        n isCourtfindsdefendantFRANCISCO M UNOZ, akatçlked'',agreedto theforfeitureofthe
        20 property setforth in ForfeitureAllegationsoftheCriminallnfonnation and the PleaAgreement.

        21         This Courtfinds,pursuantto Fed.R.Crim . P.32.20841)and (2),the United Sotesof
        22   Ameçioahasshown therequisitenexusbetween property setforth in tlleForfeitm tAllegationsof

        23 theCriminalInfonnationandthePleaAgreem entandtheoffensestowhichdefendantFRANCISCO
        24 M U NO Z,akatclked'' pled guilty.

        25         n e following assetsare subjectto forfeiturepursuantto Title21,United StatesCode,
        26 Section 853(a)(1)and 853(a)(2);andTitlel8,UnitedStatesCode,Section924(d)(1)mldTitle28,
          Case 2:11-cr-00057-LDG-DJA          Document 145        Filed 03/12/12     Page 2 of 3



 1 UnitedSGtesCode,Sedion2461(c):
 2                  (a)     a2009DodgeChallengerR/T,Vm 283L.
                                                           154-1-1911503073;
 3                  (b)     a2008ChevroletTahoeLTZ,Vm 10N17C13.
                                                              12811.194198;
 4                  (c)    a2007ChevroletSilverado2500LTZ,Vm 16C14112363717566766;
 5                  (d)    a2006DodgeRam 1500SRT-IOTruok,Vm 31771-1A1811866152490;
 6                  (e)    2005Kenwort.
                                      h-1-600ExtendedDayCab AeroM otorTnzckTractor,
                           V m lX KAD B9X 85J071120;
 7
                    (1)    a1999W ilsonComm ercialFlatbed-frailer,V1N 47+ 86868&X:1602298;
 8
                    (g)    aSmithandW esson SW 4OVE,.40caliberautomatichmldgun,
 9                         Serial# RCA8728;

10                  (h)    aColt.45GoldCup NationalMatch,.45caliberautomatic handgun,
                           Serial# 70N04624;
11
                    (i)    $38,980.00inUnited Statescurrency;and
12
                    ()     anyanda11ammunition ('çpropertf).
13

14          ThisCourttindstheUnited StatesofAmericaisnow entitled to,and should,reducethe
15 aforem entioned propertyto thepossession ofthe United SotesofAm erica.

16          NOW THEREFORE,ITIS I'IEREBY ORDERED,ADJUDGED,AND DECREED O t+ e
17 United SG tes ofA m erica should seizethe aforem entioned property.
l8          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED a1lright,title,andinterestof

19 FRAN CISCO M UNOZ,akaRlted'',intlleaforementionedpropertyisforfeitedandisvested inthe

2Q United SttesofAmericaandshallbesafelyheldbytheUnitedStatesofAm ericaum ilfurtherorder
21 of the Cotu't.

22          ITISFURTHER ORDERED,ADJUDGED,AN D DECREED theunitedSGtesofAmerica

23 shallpublishforatleastthirty(30)consecutivedaysontheoflicialinternetgovernmentforfeiture
24 w ebsite,w w w .forfeiture.gov,noticeofthisOrder,which shalldescribe the forfeited property, state
25 thetim e underthe applicablestatutew hen apetition contesting the forfeiturem ustbefiled, and state
26 the nam e and contactinform ation forthe governm ent attorney to be served with the petition,
         Case 2:11-cr-00057-LDG-DJA          Document 145        Filed 03/12/12           Page 3 of 3



 1 pursuanttoFed.R,Crim.P.32.2(b)(6)andTitle21,United StatesCode,Section 853(n)(2).
 2          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED apetition,ifany, m ustbe

 3 filed 4v1t.
             1:theClerk oftheCourt 333LasVegasBoulevard South,LasVegas,N evada 89101.
 4          IT ISFURTHER ORDERED,ADJUDGED,AND DECREED acopyofthepetition, ifany,
 5 shallbe served upon the AssetForfeitureAttonwy ofthe United StatesAttorney'sOftice atthe
 6 follow ing addressatthe tim e offiling:
 7                 M ichaelA .H m nphreys              .
                   A ssistantU nited States Attom ey
 8                 D anielD .H ollingsw orth
                   AssistantUnited StatesAttom ey
 9                 Lloyd D ,George U nited States Courthotuse
                   333 LasV egms Boulevm'd South,Suite 5000
10                 Las Vegas,N evada 89101.

11          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thenoticedescribedherein
12 need notbe published in the eventa D eclaration ofForfeiture isissued by the appropriate agency

13 followingpublicationofnoticeofseizureandintentto administativelyforfeittheabove-described
14   property.
15          DATED this ZX dayof                             ,   2012.
16                                                                             ?
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18                                                 IT            ES D lS           JU D
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